                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                               No. 7:22-CV-73-M

CENTER FOR ENVIRONMENTAL           )
HEALTH, ET AL.,                    )
                Plaintiffs,        )
                                   )
       v.                          )         NOTICE OF APPEARANCE
                                   )
MICHAEL S. REGAN, Administrator )
of the United States Environmental )
Protection Agency, and the UNITED )
STATES ENVIRONMENTAL               )
PROTECTION Agency,                 )
                   Defendants.     )


      Please enter my name as an attorney of record on behalf of the Defendants in

the above-captioned action. Copies of all correspondence and pleadings should be sent

to the undersigned at the below address.

      Respectfully submitted, this 9th day of June, 2022.

                                MICHAEL F. EASLEY, JR.
                                United States Attorney


                          BY:   /s/ C. MICHAEL ANDERSON
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                                Counsel for the Defendants




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 9th day of June, 2022, a true and correct copy of

the foregoing was filed electronically with the Clerk of the Court using the CM/ECF.

I also certify that the foregoing document is being served on all counsel of record via

transmission of the Notices of Electronic Filing generated by CM/ECF.

                                 MICHAEL F. EASLEY, JR.
                                 United States Attorney

                                 BY: /s/ C. MICHAEL ANDERSON
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